     Case 2:25-cv-00584-JAM-CSK            Document 2        Filed 03/06/25      Page 1 of 2


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 8                                  UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

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11                                                       No. 2:25-cv-00583-JAM-CSK
       IN RE: STEVEN WAYNE BONILLA
12                                                       No. 2:25-cv-00584-JAM-CSK

13                                                       No. 2:25-cv-00586-JAM-CSK

14                                                       No. 2:25-cv-00587-JAM-CSK

15                                                       No. 2:25-cv-00588-JAM-CSK

16                                                       No. 2:25-cv-00598-JAM-CSK

17                                                       No. 2:25-cv-00600-JAM-CSK

18                                                       No. 2:25-cv-00601-JAM-CSK

19                                                       No. 2:25-cv-00604-JAM-CSK

20                                                       No. 2:25-cv-00633-JAM-CSK

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23                                                       ORDER

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25

26           Plaintiff Steven Wayne Bonilla is a state prisoner proceeding without counsel in the

27    above-captioned civil actions. On November 29, 2018, the Court declared Plaintiff a vexatious

28    litigant and ordered the Clerk of the Court not to file or assign a civil case number to any
                                                         1
     Case 2:25-cv-00584-JAM-CSK            Document 2        Filed 03/06/25      Page 2 of 2


 1    proposed habeas corpus petition or civil action related to Plaintiff’s criminal conviction in

 2    Alameda County. (See Bonilla v. Fresno County, Case No. 2: 18-cv-2544-TLN-KJN, ECF No.

 3    13). On June 14, 2023, the Court modified its vexatious litigant Order and directed the Clerk of

 4    the Court to open a new case for each attempted new pleading and assign it to the Court for

 5    review. (Id. at ECF No. 26.) If the Court determines the new filing is related to Plaintiff’s

 6    Alameda County criminal conviction, the case will be ordered dismissed and closed. (Id.)

 7           The Court has reviewed the complaints/petitions filed in the above-captioned cases and

 8    finds they are related to Plaintiff’s Alameda County criminal conviction.

 9           Accordingly, IT IS HEREBY ORDERED that 2:25-cv-00583, 2:25-cv-0584, 2:25-cv-

10    00586, 2:25-cv-00587, 2:25-cv-00588, 2:25-cv-00598, 2:25-cv-00600, 2:25-cv-00601, 2:25-cv-

11    00604 and 2:25-cv-00633 are DISMISSED; the Clerk of the Court is DIRECTED to CLOSE

12    these cases. No further filings will be accepted.

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       Dated: March 05, 2025                          /s/ John A. Mendez
14
                                                      THE HONORABLE JOHN A. MENDEZ
15                                                    SENIOR UNITED STATES DISTRICT JUDGE
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